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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                         Criminal No. 20-284 (ECT)

UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                   GOVERNMENT’S SENTENCING
                                                    REPLY
JENNIFER LYNN BOUTTO,

                    Defendant.

      Defendant Jennifer Lynn Boutto’s request for a non-custodial sentence ignores

nearly all tenets of 18 U.S.C. § 3553(a). Boutto’s narrow focus on her history and

characteristics—essentially to offer justification for her embezzlement—misses the

mark. Boutto’s position fails to acknowledge that her theft outpaced her apparent

need and ignores how her years-long fraud shook the trust of a small community. The

sentence in this matter must account for these case-specific circumstances to provide

just punishment and deter others from such conduct. The United States respectfully

submits that an 18-month sentence—at the bottom of the applicable Guidelines

range—recognizes Boutto’s mitigating circumstances while simultaneously achieving

the broader goals of the United States Sentencing Guidelines and Section 3553(a).

      I.     Boutto’s Theft Outpaced Desperation

      Boutto asserts that she committed this crime out of desperation to pay medical

bills and make ends meet. (Dkt. 30 at 3.) But Boutto’s fraud increased over time and

she stole approximately $229,054.44 in cash over the last 18 months of her fraud

scheme. This equates to $12,725.25 a month in tax-fee income. Neither Boutto’s
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sentencing position nor her financial records suggest a need for such an exorbitant

monthly cashflow, which was above and beyond her regular income. Boutto also does

not contend that uncontrollable monthly expenses directly correlate to the increasing

severity of her theft.

       Boutto’s bank records for this 18-month period reveal spending inconsistent

with desperation, a conservative sampling of which includes: $2,080 on

entertainment, $8,426 on health and beauty services, $1,381 on hotels, $1,800 on

liquor, $2,741 for motorcycle services, $5,600 on Amazon purchases, $3,692 on iTunes

purchases, $4,620 on other retail purchases, and $1,514 at restaurants. Boutto also

appeared to pay $373 per month for her cellphone and maintained a SiriusXM

subscription. An additional $22,457 was either withdrawn in cash or transferred to

other accounts or individuals. This spending is in addition to other recreational

activities enjoyed by the Bouttos, including hunting, fishing, and recreational

vehicles. (PSR at ¶ 67.) Other categories of expenses appear as legitimate costs of

living—gas, Internet, grocery, general retail—but stand somewhat in contrast to

Boutto’s assertion that she regularly required financial assistance from family to

cover such expenses.

       The government details this spending not to cast judgment on Boutto’s

lifestyle, but to respond directly to Boutto’s efforts to contextualize her crime.

Although financial circumstances may have motivated Boutto’s actions—again, not

an excuse—it simply does not account for the full scope of her misconduct. Boutto did

not eliminate discretionary spending, live as leanly as possible, and then steal the


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bare minimum to makeup the difference. It also is unclear if Boutto ever sought to

utilize other programs or services that may have been able to help control her medical

expenses and avoided the perceived need to steal. At some point, Boutto chose to

steal because it financed aspects of a lifestyle she could not otherwise afford. This

reality is relevant, given Boutto’s attempt to frame her criminality as steeped solely

in desperation.

      II.    A Guidelines Sentence for this Specific Offense Provides Just
             Punishment, Necessary Deterrence, and Does Not Create
             Unwarranted Disparity

      Boutto contends a probationary sentence is sufficiently severe, that a sentence

based on deterrence is not necessary, and that such a disposition would be consistent

with comparable cases.      The government disagrees.     Instead of recognizing the

widespread impact of her crime, Boutto’s sentencing position focuses exclusively on

how this criminal prosecution has negatively affected her life.

      It is vital that criminal sentencing reflect the unique realities of each crime,

including its broad impact on society. Here, that must recognize that a non-Tribe

member stealing $315,739.87 in northern Minnesota lands differently than many

corporate fraud or tax matters. The victim impact statement submitted by the Bois

Forte Band of Chippewa highlights the broad distrust sown by Boutto’s actions and

the deep impact her actions had on the Tribe. (Dkt. 28.) It also speaks to how Boutto’s

crimes directly affected the Tribe’s ability to provide medical services to its own

members.     (Id.)   This heightens the need to craft a sentence that reflects the

seriousness of this offense and provides just punishment for it.


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      The impact on the community also underscores the need to fashion a sentence

that serves as a general deterrent. The message cannot be that non-Tribe members

can unilaterally engage in the equivalent of interest-free financing at the expense of

the Tribe. And, more generally, it remains that an employee cannot simply steal from

their employer to finance solutions to subjective need. A non-custodial sentence may

well invite others to deem such theft worth the risk, particularly given that these

crimes often go undetected for years.

      Finally, Boutto provides a list of probationary dispositions as anecdotal

evidence that a probationary sentence would not create an unwarranted sentencing

disparity. The utility of such a list is limited. Although the government could provide

a similar list in which approximated circumstances and loss amounts resulted in

custodial sentences, the parties no doubt would find distinguishing factors in nearly

every example. See, e.g., Levine (20-cr-51; SRN), Willor (19-39; ECT), Taggart (18-

93; MJD), Linsmeier (18-48; DWF); Jackson (15-cr-153(5); DSD), Anderson (15-

184(2); JRT), Eischens (14-cr-291; MJD), Shepperd (14-cr-49; JRT). This is also one

of many relevant sentencing factors, and disparity is measured against similar

conduct. Here, the government has highlighted the many unique factors of this

prosecution. Moreover, the disparity argument is Boutto’s to carry. The Guidelines

render Boutto ineligible for a probationary disposition, (PSR ¶ 76), and a sentence at

the bottom of the applicable Guidelines range simply would not create an

unwarranted disparity.




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                                    Conclusion

      In its sentencing recommendation, the government has attempted to careful

balance Boutto’s unique circumstances against the broader impacts of her crime. The

government respectfully submits that a sentence of 18-month’s imprisonment,

followed by a 2-year term of supervised release, fully comports with all aspects of the

United States Sentencing Guidelines and the goals of Title 18, United States Code,

Section 3553(a).

Dated: September 16, 2021               Respectfully Submitted,

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                                        /s/ Jordan L. Sing

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